  Case 12-08228         Doc 53     Filed 11/08/17 Entered 11/08/17 07:30:00              Desc Main
                                      Document Page 1 of 3


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 12-08228
         ATARA N COLLINS

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 03/01/2012.

         2) The plan was confirmed on 05/02/2012.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 08/07/2017.

         6) Number of months from filing to last payment: 65.

         7) Number of months case was pending: 68.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $14,350.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
 Case 12-08228       Doc 53     Filed 11/08/17 Entered 11/08/17 07:30:00                      Desc Main
                                   Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor            $37,357.52
       Less amount refunded to debtor                         $451.81

NET RECEIPTS:                                                                                 $36,905.71


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $2,000.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                    $1,627.38
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                               $3,627.38

Attorney fees paid and disclosed by debtor:              $1,500.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim        Principal       Int.
Name                              Class   Scheduled      Asserted         Allowed         Paid         Paid
ALLY FINANCIAL                Unsecured            NA       9,809.43         9,809.43        980.94         0.00
CAPITAL ONE AUTO FINANCE      Secured       16,000.00     19,469.22        19,317.66      19,317.66    1,894.48
CAPITAL ONE AUTO FINANCE      Unsecured      4,232.00            NA               NA            0.00        0.00
CAVALRY PORTFOLIO SVCS LLC    Unsecured         525.00        530.60           530.60          53.06        0.00
CITIZENS FINANCE              Unsecured         248.00           NA               NA            0.00        0.00
ICE MOUNTAIN WATER            Unsecured         205.00           NA               NA            0.00        0.00
IL DEPT OF REVENUE            Unsecured         470.00        463.00           463.00        463.00         0.00
INTERNAL REVENUE SERVICE      Priority       3,054.00       2,971.00         2,971.00      2,971.00         0.00
ISAC                          Unsecured      3,104.00       2,999.95         2,999.95        300.00         0.00
MDC REALTY CORP               Unsecured      4,325.00            NA               NA            0.00        0.00
MDC REALTY CORP               Unsecured            NA       4,444.84         4,444.84        444.48         0.00
NCEP LLC                      Unsecured            NA     17,292.77        17,292.77       1,729.28         0.00
NCEP LLC                      Secured              NA           0.00             0.00           0.00        0.00
OAK HARBOR CAPITAL            Unsecured         780.00        837.11           837.11          83.71        0.00
PREMIER BANK CARD             Unsecured         451.00        451.39           451.39          45.14        0.00
WELLS FARGO BANK NA           Unsecured     14,000.00            NA               NA            0.00        0.00
WELLS FARGO BANK NA           Secured              NA       4,995.58         4,995.58      4,995.58         0.00
WELLS FARGO BANK NA           Secured       90,000.00    101,101.42       106,097.00            0.00        0.00




UST Form 101-13-FR-S (09/01/2009)
  Case 12-08228         Doc 53      Filed 11/08/17 Entered 11/08/17 07:30:00                Desc Main
                                       Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $106,097.00              $0.00             $0.00
       Mortgage Arrearage                                 $4,995.58          $4,995.58             $0.00
       Debt Secured by Vehicle                           $19,317.66         $19,317.66         $1,894.48
       All Other Secured                                      $0.00              $0.00             $0.00
 TOTAL SECURED:                                         $130,410.24         $24,313.24         $1,894.48

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                $2,971.00          $2,971.00              $0.00
 TOTAL PRIORITY:                                          $2,971.00          $2,971.00              $0.00

 GENERAL UNSECURED PAYMENTS:                             $36,829.09          $4,099.61              $0.00


Disbursements:

         Expenses of Administration                             $3,627.38
         Disbursements to Creditors                            $33,278.33

TOTAL DISBURSEMENTS :                                                                      $36,905.71


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/08/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
